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                              Wichita Citizen’s Review Board

                                Wichita Police Department

                               Report and Recommendation

    (Case Nos. 21-PSB-2918, 21-PSB-4054, 21-PSB-4547, 21-PSB-5114, 21-PSB-5116,
                     21-PSB-5117, 21-PSB-5118 and 21-PSB-5321)

       The CRB reviews cases on a selective basis. It does not have the ability to change or
modify discipline decisions. It has the authority and is specifically charged with the
responsibility to recommend policy changes regarding discipline or other matters based on its
review. Pursuant to authority granted to the CRB by Ordinance No. 51-728 enacted by the City
Council on April 5, 2022, it now also has the authority to issue a public report regarding its
findings. This report is issued under that revised authority.

        The reviewed cases involve text messages and images exchanged between WPD
officers, as found on a cell phone belonging to a Sedgwick County Sheriff’s deputy. The
evidence reviewed will be summarized below. But first it will be helpful to understand the
process used by the CRB in selecting cases for review and in making those reviews.

       The CRB can review closed cases, post-discipline. That means the complaint, internal
or external, has been investigated by Professional Standards, and the investigation concluded.
Each month, a report is submitted to the CRB identifying “closed” cases eligible for review.
Any CRB member may ask for a case to be pulled for review. When that happens the WPD
prepares the case for presentation and provides the CRB with information on the case, which
includes a summary, and may include documents and other evidence—including Axon video
evidence, when available. The review of the evidence that occurs in executive session, includes
questioning by CRB members and a discussion by the board regarding each case. The WPD
has been cooperative with the review process and forthcoming with regard to information
provided. When the CRB has requested additional information be produced, the WPD has
always complied with those requests.

      That background is important to the review of the cases identified in this report and
recommendation. The community should understand that the CRB has received the
cooperation of the WPD in the review of these cases. Our review was thorough and the process
informative. In addition to CRB members, the review included participation of the Chief, two
deputy chiefs, Professional Standards personnel, and other members of the command staff.
There were detailed and heartfelt discussions over the evidence reviewed and the board’s
concern. The CRB commends the WPD’s commitment to this review process.

                                     Timing of Review

      This matter came to the attention of the CRB when 21-PSB-5114 was closed and
appeared on the November 2021 list of closed cases. When the board met on December 10,

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2021, it requested review of that case with the review initially set for January 27, 2022.
However, that meeting was cancelled, for unrelated reasons. The review was then set for the
next regular meeting on February 24, 2022. By that time, the related cases had been closed (or
were in the process of being closed) and the WPD advised the board that there were other
related cases. The CRB decided to review Case No. 21-PSB-5114 at the February 24, 2022,
meeting, knowing that additional related cases would be added to the review later. As a result
of the review undertaken on February 24, 2022, the CRB became aware of the conduct
involved and expressed concern about the conduct reported and the adequacy of discipline
imposed. It then scheduled all cases for further review and had additional meetings on March
10, 24 and 31, 2022, to complete its review.

                         Summary of Cases and Conduct Involved

        Eight cases were reviewed, involving 12 WPD officers. While the text messaging
subject to review took place as early as December of 2015, most of the reviewed messaging
occurred between May of 2018 and February of 2021. It is important to note that not all officers
participated in all the messaging. The common denominator was a sheriff’s officer, who was
the link to all the communications and whose cell phone was searched in an unrelated crime
investigation. The only text messaging available for review were those found on the sheriff
officer’s phone.

         All the involved officers served on the SWAT team. WPD personnel included a captain,
four sergeants, one detective, and six officers. A summary of the text messaging and conduct
specific to each case reviewed is in the Appendix to this Report and Recommendation. That
summary reflects the rank, length of service, and current employment status for each officer.
At the time of our review, four of the involved personnel had resigned or retired from the
Department. While our review was pending, the sergeant involved in 21-PSB-5114 also
retired.

         All the reviewed cases were initially charged as Conduct Unbecoming, a serious charge
that carries a “D” penalty, with the expectation of a suspension on a first offense. Case No. 21-
PSB-4054 was sustained for that violation, but it was subsequently reduced after retirement to
a “B” violation related to insulting a supervisor. No discipline was imposed, as that officer had
retired.

        Case No. 21-PSB-5114 was sustained as a “B” violation for Failure to Use Good
Judgment. A written reprimand was given. On all the other cases, the conduct involved was
reclassified from Conduct Unbecoming to Failure to Use Good Judgment before the cases were
closed. In each of those instances, those officers did not receive discipline, but they were given
Non-Disciplinary Education, Coaching and Mentoring.

                         The Standards—Community Expectation

        WPD officers are bound by Regulation 1—the Code of Ethics—to not engage in
activities that may bring discredit upon the Department, the law enforcement community or

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themselves. Our police officers are public servants and should conduct themselves with
respect, courtesy, and professionalism. Their activities, on or off duty, should not cast doubt
on their integrity, honesty, judgment, or character. Their conduct should not discredit the
WPD. The WPD has codified this requirement in Regulation 3.2, which prohibits Conduct
Unbecoming an Officer:

              3.201 Conduct Unbecoming an Officer shall include that which brings
              the Department into disrepute or reflects discredit upon the officer as a
              member of the department, or which impairs the operation or efficiency
              of the Department or officer.

              3.202 Each member of the Department shall conduct themselves in the
              manner to reflect most favorably on the Department whether on or off
              duty.

                                    Discussion—Concerns

       The content of the messages reviewed was disturbing and unacceptable. We have
attached the Appendix to this report that summarizes the material reviewed. But our review
involved more than just the summary. We looked at the text messages themselves and the
images transmitted. We questioned the command staff, Professional Standards, and gathered
detailed evidence regarding the background of the officers, the investigation process, and the
purported explanations for the conduct. Suffice to say, we were offended and disappointed.

       We heard from the community in public comment. We heard that the conduct
jeopardized public trust in the Department. We agree. Trust is critically important to the
function of a police department. The issues raised by this conduct must be addressed.

        The conduct involved members of the SWAT team. SWAT is an elite team that deals
with dangerous situations. They can be faced with life and death decisions at a moment’s
notice. Judgment is critically important. Bias, whether directly demonstrated or implicit, can
impair performance and must be addressed. While these cases only address the conduct of a
limited number of officers, those officers come from all parts of the Department and that fact
cannot be ignored. Our board believes it is necessary to address this conduct on an institutional
basis with training on cultural bias embedded in all aspects of training.

       Addressing cultural issues, and working toward public trust, requires treating people
with dignity and respect – and it requires accountability. This means all members of the WPD
should have a responsibility to address and report behavior violating standards of conduct. In
public comment at one of our meetings addressing this issue, a citizen reminded us that the
WPD encourages the community to report potential criminal activity with the slogan “See
something, say something.” That same approach should be expected of WPD members when
confronted with conduct that is not acceptable. Understanding what is expected of a
professional police officer in the WPD, officers and supervisors must say “no” to improper
communications and conduct, and supervisors must intervene to define what is expected.

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        The CRB believes that the Department failed to appropriately discipline the officers
involved. We are not authorized to change discipline, but we are all of the opinion that the
conduct observed was Conduct Unbecoming an Officer, meriting suspension or more
significant sanction. While there may be individual circumstances as to a particular officer or
text that may mitigate punishment, the conduct observed violated Regulation 1—the WPD
Code of Ethics—and Regulation 3.201 and 3.202, as actions that bring the Department into
disrepute and reflect discredit on the officer.

        We do not accept as a defense to the conduct that the messages were “private messages”
or that the Department should not regulate this conduct because it is “protected speech” under
the First Amendment or did not involve officers on duty. On duty or not, these officers were
communicating with fellow officers related to their policing activity. WPD Standards of
Conduct apply on and off duty. In fact, officers receive “Code of Conduct” pay under the FOP
contract, which is paid because officers are “held to a high standard of conduct, while on duty
or off duty.”

        The Department appropriately rejected arguments that the messages should not be
regulated conduct. Where we are concerned is the how and why the discipline process moved
from serious Conduct Unbecoming charges to a non-disciplinary resolution of education,
coaching, and mentoring. As a result of the information that came forward during our CRB
review process, the City Manager has convened a separate group to review the WPD
disciplinary process. Our review was of the conduct that occurred and not specifically the
disciplinary process that followed. But that task needs to be separately undertaken.

         During our review, we became aware that the FOP may have intervened in the process,
first to argue that no review should be done and then to argue for no discipline. Our information
on this subject is incomplete and requires further inquiry. We understand the FOP’s proper
role as an advocate for officers and as a participant in a grievance proceeding following
discipline. We do not believe the FOP is a proper “decider” of discipline. If there is a dispute
between the FOP and WPD regarding discipline imposed after the review process, it should be
addressed in the grievance process set forth in the FOP contract. In that process, any issues
can be fully vetted. The WPD should not defer to the FOP as it adjudicates discipline matters.
We flag this concern for further review.

        We are also concerned about the adequacy of the initial PSB investigation of the
complaints. The command staff candidly admitted during our review that there were “holes”
in the initial investigations. Those “holes” included the failure to follow up on the source of
the image referenced in Case No. 21-PSB-5114 and the failure to request access to text
messages from the officers involved. As a result of the CRB review, additional interviews were
conducted by the command staff. The CRB has been advised that those officers interviewed—
those remaining on the force—declined to provide access to their cell phones for the review.




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                                  Recommendations

1. The WPD must clearly define what conduct is unacceptable. The Code of Ethics and
   existing regulations provide a basis for understanding what is acceptable, but that may
   not be enough. WPD training should emphasize that police officers must conform to
   standards of conduct that reflect favorably on themselves and the WPD, both on and
   off duty. The WPD should consider amending its social media and personnel policies
   to make it clear there is no “private messaging” exception to regulations prohibiting
   Unbecoming Conduct.

2. The cases reviewed reflect the conduct of a relatively small number of officers working
   in a team environment. The contents of some messages show racial bias—or at
   minimum, a lack of cultural sensitivity and bad judgment. Other messages reveal
   disrespect for command authority and disrespect for efforts by the Department to
   promote de-escalation as a policy and to reduce use of force. This conduct, by itself,
   does not implicate the WPD as a whole, but it presents a learning opportunity for the
   Department. The WPD should use the example of these cases, both in the academy and
   in in-service training, as a basis for discussion of what is expected of a WPD officer
   and as part of an ongoing dialogue on racial bias, use of force, and related training.

3. The WPD should address the responsibility of officers and supervisors to maintain and
   reinforce conformance with appropriate standards of conduct. Inappropriate
   communications should be promptly identified and addressed. Officers should be
   encouraged to report to their supervisors any behavior inconsistent with WPD policy.
   Supervisors should be alert to behavior or communications that may reflect a racial or
   cultural bias, or other problematic conduct. The Department should consider a duty to
   intervene or a mandatory reporting requirement when conduct is observed that falls
   below appropriate standards of professional behavior.

4. The public’s confidence in its police officers is essential to the WPD. That confidence
   is built on a relationship of trust and fair treatment. Our WPD officers must build that
   trust by actions that demonstrate courtesy, respect, and dignity. This concept must be
   an integral part of the WPD’s mission and training. The CRB is aware of the
   Department’s training and efforts on this subject, particularly regarding public
   outreach. But those efforts may not be enough. The cases under review jeopardize
   longstanding efforts to improve relationships with the community. The WPD should
   consider how to build a “public confidence” program that includes a focus on internal
   training. Dignity and respect are critical to building that trust and those concepts must
   be part of WPD culture.

5. Some of the messages and images received suggest affiliation with or support for
   groups that promote or are known for racial bias, discrimination, or other activities
   contrary to the rule of law. This information was limited and inconclusive. But
   affiliation with such groups has a potentially significant adverse impact on the
   reputation of officers. The WPD should be alert to these concerns and develop an

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   appropriate training protocol to address officer affiliation or support for groups that
   advocate or are aligned with activities and beliefs inconsistent with the public service
   obligation of a WPD officer.

6. The CRB is aware of public concern about the length of time between the initiation of
   complaint and the resolution of a complaint to a “closed” status. In this instance, the
   CRB understands the complexity of the record, the steps taken by the WPD to
   investigate, and the separate effort by the FBI and Department of Justice to assess the
   conduct involved. The board also understands that it is WPD policy not to proceed with
   PSB investigations when a criminal investigation is pending. Those factors—and the
   recognition that an individual officer is entitled to due process—means that delay is
   expected. Nonetheless, the CRB recommends the WPD review its policy of deferring
   investigations of individual officer conduct pending other investigations. This
   recommendation is not intended to suggest that any officer’s rights be disregarded. But
   in this instance, the concerns regarding potential criminal violations were not directed
   to a WPD officer and there was no finding of a criminal civil rights violation by a WPD
   officer. CRB requests that the WPD evaluate how it can expedite conduct reviews
   consistent with its contractual obligations under the FOP contract and the rights
   afforded any officer under review.

7. The CRB is concerned that certain statements in the messaging and images received
   reflect potential racial bias on the part of the officers involved in those communications.
   Conduct related to racial bias impairs an officer’s ability to perform his or her duties
   under the Brady/Giglio disclosure requirements. The CRB is aware that Brady/Giglio
   issues are being handled separately with implementation and required disclosures to be
   addressed by either the District Attorney or the United States Attorney as appropriate.
   Recommendations as to Brady/Giglio requirements are beyond the scope of this Report
   and Recommendation. Officer training already includes discussion of Brady/Giglio
   issues, but the CRB recommends the WPD review its training on Brady/Giglio issues
   to reinforce the point that actions or comments, public or private, reflecting potential
   racial bias or creating the appearance of bias may be disqualifying factors for service
   as a police officer.


8. The CRB believes the discipline process requires further review. The City Manager has
   tasked a separate group to review the discipline process. That review is needed.
   Particular attention should be given to the involvement of the FOP in determining the
   discipline imposed. The FOP has a proper role in advocating for officers and in the
   grievance process if discipline is challenged. But an assessment needs to be made to
   determine if FOP involvement improperly influenced the discipline outcomes in these
   cases. The CRB recommends that the City Manager’s discipline review consider that
   issue in the context of its ongoing investigation.




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                                     Response Requested

        It is important that the conduct identified in this report be assessed on an institutional
basis. Our Department must have a culture of courtesy, respect, and dignity. All our
recommendations are important and have the same priority. The CRB is aware that Chief
Moore and the City are actively addressing these issues and implementing programs to respond
to the community’s concern. The CRB requests that the WPD and City Manager respond to
this Report and Recommendation and address the board’s recommendations. The CRB asks
that the response be provided within 60 days, with the expectation that the response will be
discussed at a meeting of the CRB held in public session.

                                          Conclusion

        Our Board is frustrated by this entire case. The WPD has made great progress in its
relationship with the community in recent years. It has affirmatively worked on building a
culture of respect. Our Board has been operating for four years now. We have reviewed many
cases, interacted with officers from all parts of the Department, and had the opportunity to see
and evaluate the Department’s interaction with the community. We know our officers as good
people, with a commitment to public service, diversity, inclusion, and fair and just policing.
The attitude in the culture shown by these text messages is harmful to our community. But it
is also harmful to the good men and women of the WPD who are committed to their jobs and
the standard of conduct expected of WPD officers. We—the community, and the men and
women of the WPD—must now work together to rebuild trust and make the WPD and our
community better.

       Adopted this 5th day of April, 2022.

       The following members of the CRB participated in the proceedings related to this
review and adopt and approve the Report and Recommendations.

                                             Jay F. Fowler, Chair
                                             Odell Harris, Jr., Vice Chair
                                             Riccardo LaMonte Harris
                                             Dennis H. Bender
                                             Shaun Rojas
                                             Kaleigh Kornfeld
                                             Jaime O. Lopez
                                             Paul A. Kitchen
                                             Sharon M. Ailslieger




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                  Wichita Citizen’s Review Board
                     Wichita Police Department




     Appendix to Report and Recommendation
                     dated April 5, 2022
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Ultimate De-Escalators (21PSB-2918)
Officer A: 22 Years, Actively Employed
Officer B: 11 Years, Resigned from Department
Officer C: 20 Years, Actively Employed

Insulting Language of Chief Ramsay and Executive Staff (21PSB-4054)
Officer D: 27 Years, Retired from Department

Field Inquiries (21PSB-4575)
Officer E: 17 Years, Actively Employed
Officer F: 20 Years, Actively Employed
Officer G: 18 Years, Actively Employed
Officer H: 11 Years, Actively Employed

Inappropriate Image (21PSB-5114)
Officer I: 26 Years, Actively Employed

Patches (21PSB-5116)
Officer J: 22 Years, Actively Employed

Targets (21PSB-5117)
Officer K: 15 Years, Retired from Department

Jamaican Goony Hook (21PSB-5118)
Officer L: 16 Years, Actively Employed

Snitches (21PSB-5321)
Officer B: 11 Years, Resigned from Department
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                                           Ultimate De-Escalators
                                                21PSB-2918

Officer A: Rank (Officer), History (One (1) 0 .1.S. Incident), 22 Years, Actively Employed
    • Violation(s): Fail to Use Good Judgement (3.207 (B))
    • Discipline Received: Non-Discipline Education/ Coaching & Mentoring

Officer B: Rank (Officer), History (Two (2) 0 .1.S. Incident), 11 Years, Resigned
    • Violation(s): Fail to Use Good Judgement (3.207 (B))
    • Discipline Received: Resigned Under Investigation

Officer C: Rank (Officer), History (One (1) 0 .1.S. Incident), 20 Years, Actively Employed
    • Violation(s): Fail to Use Good Judgement (3.207 (B))
    • Discipline Received: Non-Discipline Education / Coaching & Mentoring

Sergeant A: Sedgwick County Sheriff Sergeant.



                                      Message Conversation - Instant Message

    •   02/13/2021 (12 :35 PM) - "For the record, you three are the "Ultimate De-Escalators " on the team ... each you
        not only descalated a SWAT call or soon to be a SWAT call, but permanently descalated people who needed
        permanent de-escalation ... and I'm proud ofyou guys. I know that isn 't PC to say and would be complained about
        on the WhatsApp, but that doesn 't make it less true{] "
            o Sergeant A sent message above to Officer A, Officer B, and Officer C.

    •   02/13/2021 (12:36 PM) - Officer B "LIKED" the message from Sergeant A.

    •   02/13/2021 (12:36 PM) - Sergeant A "LOVED" his own message.

    •   02/13/2021 (12:37 PM) - Officer C "LOVED" the message from Sergeant A.

    •   02/13/2021 (12:37 PM)- "Yourself include [Sergeant A]. You 've also de-escalated some personas that needed
        it. "
              o Officer B sent message above to Officer A, Officer C, and Sergeant A.

    •   02/13/2021 (12:37 PM) - "*included"
            o Officer B sent message above to Officer A, Officer C, and Sergeant A.

    •   02/13/2021 (12:46 PM) - Sergeant A "LIKED" the first message ( "Yourself include [Sergeant A]. You've also
        de-escalated some personas that needed it. ") from Officer A.

    •   02/13/2021 (1:06 PM) - "Good stuff, [Sergeant A]. Thank you."
            o Officer C sent message above to Officer A, Officer B, and Sergeant A.

    •   02/13/2021 (1:12 PM)- "Very nice words [Sergeant AJ .. .And you most definitely are on that list!!! "
            o Officer A sent message above to Officer B, Officer C, and Sergeant A.

    •   02/13/2021 (1:13 PM) - "Thanks boys, wasn't compliment shopping. Just proud ofyou gyy's"
            o Sergeant A sent message above to Officer A, Officer B, and Officer C.

    •   02/13/2021 (1:14 PM) - "Proud ofyou too!! "
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  0   Officer A sent the above message to Officer B, Officer C, and Sergeant A.
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                   Insulting Language of Chief Ramsay and Executive Staff
                                                     21PSB-4054

Officer D: Rank (Captain), History (One (1) 0.1.S. Incident), 27 Years, Retired
    • Original Violation(s): Conduct Unbecoming (3.201 (D))
    • Revised Violation(s): Insulting Language of Supervisor (3 .1305 (B))
    • Discipline Received: Retired Under Investigation


Sergeant A: Sedgwick County Sheriff Sergeant.




                                       Message Conversation - Instant Message

    •   12/21/2020 (7:06 PM) - "Hey boss, you were great on the radio coordinating things while you responded today.
        You and Lee were both super calm and cool on the radio. I am proud ofyou both "
            o Sergeant A sent the above message to Officer D.

    •   12/21/2020 (7:08 PM) - "Tmc [Sergeant A}. .. im trying to keep him "quiet " now. He tends to ramble ... you know
        what im saying"
            o Officer D sent the above message to Sergeant A.

    •   12/21/2020 (7:09 PM) - "Hahahahaha yep, tell him to shut the fuck up! Do you guys hafta interview tonight or
        can he take a day or two?
            o Sergeant A sent the above message to Officer D.

    •   12/21/2020 (7:12 PM) - "He has a lawyer now so he will prob talk tonight .... "
            o Officer D sent the above message to Sergeant A.

    •   12/21/2020 (7:13 PM)- "I strongly disapprove ... especially since he has probably been up since 0430 or so, but
        surely his Atty wot let him say anything toooooo stupid"
                Sergeant A sent the above message to Officer D.

    •   12/21/2020 (7:14PM) - "Ahhhhh yaaaaa ... and its (Other WPD Officer)"
            o Officer D sent the above message to Sergeant A.

    •   12/21/2020 (7:14 PM} - "Hahahahahaha "
    •   12/21/2020 (7:33 PM)- "[Other WPD Officer} sounded good on the radio too .... You guys and [Other WPD
        Officer} were great, everyone else was screaming little bitches"
                Sergeant A sent the above messages to Officer D.

    •   12/21/2020 (7:58 PM)- "Dealing with patrol folks ... as u know ... will make a guy stress the fuck out!!! I
        envisioned 10 dead citizens at a lulu lemons boutique!!! "
            o Officer D sent the above message to Sergeant A.

    •   12/21/2020 (7:58 PM) - "Hahahahahhahaha "
               Sergeant A sent the above message to Officer D.

    •   12/21/2020 (8:00 PM) - "[Other WP D OfficerJ did good .. . Cmd staff doesnt think so but I say 100% "
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        o    Officer D sent the above message to Sergeant A.

•   12/21/2020 (8:00 PM) - "Well, your command staff ... "
           Sergeant A sent the above message to Officer D.

•   12/21/2020 (8:01 PM) - "Ya ...nu.ff said"
        o Officer D sent the above message to Sergeant A.

•   12/21/2020 (8:02 PM)- "How does the DA see it, that's all that really matters ... "
        o Sergeant A sent the above message to Officer D.

•   12/21/2020 (8:03 PM) - "Yes ... bennett didnt seem to concerned... but i think he had a card game to get to ... lo/"
        o Officer D sent the above message to Sergeant A.

•   12/21/2020 (8:03 PM) - "Shit, all that REALLY matters is how [Other WP D OfficerJ sees it, nothing any of those
    jud(s decide is what he has to live with for the rest of his life "
        o    Sergeant A sent the above message to Officer D.

•   12/21/2020 (8:04 PM) - "Exactly. Thats what i told him. His eyes matter .. .fuck these dipshits. "
        o Officer D sent the above message to Sergeant A.

•   12/21/2020 (8:05 PM) - "Add up all the shootings those jumps have been in .... bet it 's a big fucking zero"
•   12/21/2020 (8:11 PM)- "Humps, notjumps .. . .fuckyou autocorrect "
•   12/21/2020 (8:15 PM)- "What don 't they like? Was the guy unarmed... ! mean except for the stolen fucking truck
    he rammed them with??? "
        o Sergeant A sent the above messages to Officer D.

•   12/21/2020 (8:29 PM) - "They dont like that we have guns ...fuck, who knows "
        o Officer D sent the above message to Sergeant A.

•   12/21/2020 (8:30 PM)- "Exactly "
•   12/21/2020 (8:41 PM) - "And by 'they we mean Gordo "
        o Sergeant A sent the above messages to Officer D.

•   12/21/2020 (8:51PM) - "All of them "
        o Officer D sent the above message to Sergeant A.

•   12/21/2020 (8:51 PM) - "Gordo and the gordettos"
        o Sergeant A sent the above message to Officer D.

•   12/21/2020 (8:52PM)- "Yep ... they hate police "
        o Officer D sent the above message to Sergeant A.

•   12/21/2020 (8:55 PM)- "Cause they never were ones ... hate us cause they ain 't us boss "
        o Sergeant A sent the above message to Officer D.

•   12/21/2020 (8:58 PM)- "You are soooo right [Sergeant A}. . and they hate us cuz they got picked on by us .. . lol "
        o Officer D sent the above message to Sergeant A.

•   12/21/2020 (8:59 PM)- "Hahahahaha well, maybe a lack offorethought on our part .. .fucking nerds always end
    up running the world"
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       o   Sergeant A sent the above message to Officer D.

•   12/21/2020 (9:02 PM) - "Bastards "
•   12/22/2020 (10:54 AM)- "Fwd.Fwd.https.llwww.kake.com/story/43088990/suspect-in-bank-robbery-police-
    chase-dead-after-officer-involved-shooting ''
•   12/22/2020 (10:54 AM) - "Hear anything odd on the news clip?"
        o Officer D sent the above messages to Sergeant A.

•   12/22/2020 (10:59 AM) - "Hahajajahhhah EXCELLENT WORK CHIEF! I I I I HahahahaHahH"
        o Sergeant A sent the above message to Officer D.

•   12/22/2020 (11:00 AM) - "Fucking tool. Hes in orlando! I"
        o Officer D sent the above messages to Sergeant A.

•   12/22/2020 (11 :00 AM) - "HahahahhahahahahhahHahah!hhHhahHhHhhHahahahahhahahah "
•   12/22/2020 (11:01 AM) - "I'll have him Giglio 's if he doesn't repeal it "
        o Sergeant A sent the above messages to Officer D.

•   12/22/2020 (11:01 AM)- "Us Northerners all sound a like i guess."
        o Officer D sent the above messages to Sergeant A.

•   12/22/2020 (11:01 AM) - "Hahahahaha that 's prejudiced"
        o Sergeant A sent the above message to Officer D.

•   12/22/2020 (11:02 AM)- "Loi "
        o Officer D sent the above messages to Sergeant A.
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                                                  Field Inquiries
                                                   21PSB-4575

Officer E: Rank (Sergeant), History (No 0.1.S. Incidents), 17 Years, Actively Employed
    • Violation(s): Fail to Use Good Judgement (3 .207 (B))
    • Discipline Received: Non-Discipline Education

Officer F: Rank (Officer), History (One (1) O.I.S. Incident - Less Lethal), 20 Years, Actively Employed
    • Violation(s): Fail to Use Good Judgement (3.207 (B))
    • Discipline Received: Non-Discipline Education/ Coaching & Mentoring

Officer G: Rank (Sergeant), History (Two (2) 0.1.S. Incidents), 18 Years, Actively Employed
    • Violation(s): Fail to Use Good Judgement (3 .207 (B))
    • Discipline Received: Non-Discipline Education/ Coaching & Mentoring

Officer H: Rank (Officer), History (No 0.1.S. Incidents), 11 Years, Actively Employed
    • Violation(s): Fail to Use Good Judgement (3.207 (B))
    • Discipline Received: Non-Discipline Education/ Coaching & Mentoring

Sergeant A: Sedgwick County Sheriff Sergeant.




                                       Message Conversation - Instant Message


    •   04/03/2019 (8:26 AM} - "[Other WPD Officer} is here. I'll shoot him up for you"
            o Sergeant A sent the above message to Officer E.

    •   04/03/2019 (8:27 AM) - "Omg yes"
            o Officer E sent the above message to Sergeant A.

    •   04/03/2019 (8:34 AM) - "I got you buddy @ "
    •   12/25/2019 (6:57 PM) - "http://www.kake.com/c/ip/ 14974125/wichita-officer-robbed-of-christmas-presents "
    •   12/25/2019 (6:57 PM) - "Oh your BFF is a dummy, left his garage open and got his shit stole ... . "
            o Sergeant A sent the above messages to Officer E.

    •    12/25/2019 (6:58 PM} - "Yes he is. A bunch of officers donated and bought gifts for his family. I have mixed
        feelings about that"
             o Officer E sent the above message to Sergeant A.

    •   12/25/2019 {7:00 PM) - "Ummmm ....FUCK THAT"
            o Sergeant A sent the above message to Officer E.

    •   12/25/2019 (7:04 PM) - "He posted all that shit on Facebook. He is a dramatic victim "
            o Officer E sent the above message to Sergeant A.

    •   12/25/2019 {7:15 PM} - "What. A. Faggot. "
            o Sergeant A sent the above message to Officer E.
     Case 6:21-cv-01100-EFM              Document 207-36           Filed 09/29/23        Page 17 of 28
•   02/05/2020 (6:27 PM} - "Fixing things that aren't broke. I think my official leadership days are done. I think I
    am burnt goods for a while. My name keeps coming up on things that are negative. Just keeping my head down"
        o Officer E sent the above message to Sergeant A.

•   02/05/2020 (6:31 PM} - "Don't get it confused [Officer A}, your SUPERVISOR days may be on hold but you
    don't have to be a supervisor to be a LEJADER ... you can co tiniest to be a leader, I expect you to because you are
    a good one"
        o Sergeant A sent the above message to Officer E.

•   02/05/2020 (6:33 PM} - "True. I meant the official spots. [Other WPD Officer} is placing [Other WPD Officer]
    people in positions and I don 't think I will be one unless I get back 'in'. I will keep pushing like I always have"
        o Officer E sent the above message to Sergeant A.

•   02/05/2020 (6:34 PM}- "Atta kid ... and the current monarchy won 't be here as long as US. "
        o Sergeant A sent the above message to Officer E.

•   02/05/2020 (6:34 PM} - "18 years to go. There is no way they can outlast me "
        o Officer E sent the above message to Sergeant A.

•   02/05/2020 (6:36 PM} - "Hahaha "
•   08/24/2020 (7:23 PM}- "http://www.a ilene-rc.comlnew-chief-anna-hatter/ image_54d5ccd6-e655-l l ea-9d9e-
    bjDd743dd3b98.html "
•   08/24/2020 (7:23 PM} - "What the fack is going on [Officer A}?! Who the fuck are you talking to [Officer A}?!"
        o Sergeant A sent the above messages to Officer E.

•   08/24/2020 (7 :24 PM} - "I can't give away all of my secrets. The real question is who will replace her. The
    choices are really good"
•   08/24/2020 (7 :25 PM} - "Current rumor is [Other WP D OfficerJ retires early next year. More chaos to come"
        o Officer E sent the above messages to Sergeant A.

•   08/24/2020 (7:26PM) - "Perfect .... "
        o Sergeant A sent the above message to Officer E.

•   08/24/2020 (7:27 PM} - "Maybe maybe not. You never know what is coming next"
        o Officer E sent the above message to Sergeant A.

•   08/24/2020 (7 :29 PM} - "It couldn 't possibly get worse ... right? ???"
        o Sergeant A sent the above message to Officer E.

•   08/24/2020 (7:30 PM} - "I cannot agree with that. DC [Other WPD Officer}"
        o Officer E sent the above message to Sergeant A.

•   08/24/2020 (7:32 PM}- "Yes, that was sarcasm ... can 't be sure what ends first 2020 or my liver ... "
        o Sergeant A sent the above message to Officer E.

•   08/24/2020 (7:36 PM} - "Dude. I hear about the ass kidding and back stabbing up in the ivory tower. I think
    someone is going to get made an example of to show the supervisory skill"
        o Officer E sent the above message to Sergeant A.

•   08/24/2020 (7:40 PM} - "Hahahaha like a higher level of what [Other WPD Officer} tried to do to [Other WPD
    Officer]? Not that [Other WP D OfficerJ doesn 't make bad choices, he just didn 't in that case"
     Case 6:21-cv-01100-EFM              Document 207-36           Filed 09/29/23       Page 18 of 28
        o   Sergeant A sent the above message to Officer E.




•   05/30/2020 (8:45 PM) - "No shit it would be game on!! Not sure our bosses will go for that one tho "
•   06/04/2020 (4:43 PM)- ''I'll /et you deal with this how you seefit...just got it, hit offpress upstairs sounds like{}
    Attachment IMG_ 4457.JPG [Attachment: Chief Ramsay standing during the BLM movement that states "I
    STAND HERE " and another photo of the SWAT that states "NOWHERE TO BE FOUND HERE "}"
•   06/10/2020 (7:12 PM) - "No all the testosterone is over let's throw bags. Uwarmed up "
        o Officer F sent the above messages to Sergeant A.

•   DATE AND TIME UNKNOWN - "One more lap"
      o Sergeant A sent the above message to Officer F.

•   08/29/2018 (1:43 PM)- "Yea it felt good to do some old school type work ... you know buying drugs and kickin
    doors"
        o Officer F sent the above message to Sergeant A.

•   08/29/2018 (1:46 PM) - "Right! I was surprised when you said it was a CI buy .... thought that wasn 't CRT
    business anymore .. . "
        o Sergeant A sent the above message to Officer F.

•   08/29/2018 (1:54 PM)- "Yea they say we can so I'm just trying to work but I'm sure it pisses them off The last
    one was a crack buy as well so we will see if they let us do anymore ..everyone is ok with it other than [Other
    WPD Officer].. he s the problem I hear, had to take out all the breaching verbiage in the swat warrant and I hear
    the chief wanted jlashbangs out of warrant as well but not sure if that was true ..they are all fat pussies "
        o Officer F sent the above message to Sergeant A.

•   08/29/2018 (1:56 PM) - "Fuck yes they are, !just hope we can talk some sense into them before someone gets
    hurt letting these fucking nerds dicate our tactics "
        o Sergeant A sent the above message to Officer F.

•   08/29/2018 (1:58 PM) - "Not gonna lie I'm scared it is going to happen..guessing by them wanting all that out
    they weren't happy with the breach on st Clair the other day. Can only assume"
        o Officer F sent the above message to Sergeant A.

•   08/29/2018 (2:00 PM)- "I guess the chiefwasn 'tasked about it and heard after thefact.. .. he lost his shit "
        o Sergeant A sent the above message to Officer F.

•   08/29/2018 (2:00 PM) - "That explains it "
        o Officer F sent the above message to Sergeant A.

•   08/29/2018 (2:00 PM) - "I told [Other WP D OfficerJ to reassure him he did t have a tiny penis and ask if he
    didn't mind we just did our fucking job"
        o Sergeant A sent the above message to Officer F.

•   08/29/2018 {2:01 PM) - "Loi "
        o Officer F sent the above message to Sergeant A.
     Case 6:21-cv-01100-EFM            Document 207-36          Filed 09/29/23      Page 19 of 28
•   05/01/2018 (1:00 AM) - "https://pjmedia.com/trending/ignorant-police-chiefspotted-in-americas-
    heartland/amp/#comments [Attachment: Article that states, "Ignorant Police Chief Spotted in America's
    Heartland"]"
        o Sergeant A sent the above message to Officer G.

•   05/01/2018 (7:20 AM}- "I saw that. Whoever that is, is spot on with his assessment"
        o Officer G sent the above message to Sergeant A.

•   05/02/2018 (9:51 AM) - "Attachment IMG_ 1446.JPG. [Attachment: Unable to make out picture.]"
•   05/04/2018 (8:16 AM) - "Can you screenshot that Duluth officers comment? I can 'tfind it"
        o Sergeant A sent the above messages to Officer G.

•   05/04/2018 (8:21 AM) - "This what was sent to me: This was one of the comments under that article .... ifyou go
    to the bottom ofit, there were some good ones!!!"
•   05/04/2018 (8:21 AM) - "My friend let me start by saying I am a Duluth MN police officer that unfortunately
    served under Chief Ramsey. !just read you article about his ignorance to real Police work and man did you hit
    the nail on the head. Keep up the fine work, FYI Ramsey was almost fired in field trading because ofpoor
    performance. He was taken in by a Community Sergeant and he was a, Community Officer, Community Sergeant,
    then a Community Lieutenant. He never work the street responding to 911 calls. He in my opinion has never and
    will "
•   05/04/2018 (8:21 AM) - "Ramsey. I just read you article about his ignorance to real Police work and man did
    you hit the nail on the head Keep up the fine work, FYI Ramsey was almost fired in field trading because ofpoor
    performance. He was taken in by a Community Sergeant and he was a, Community Officer, Community Sergeant,
    then a Community Lieutenant. He never work the street responding to 911 calls. He in my opinion has never and
    will never be a Cop. I appreciate that you can see it like the rest of us RPG 's. Regular Patrol Guys "
         o Officer G sent the above messages to Sergeant A.



•   04/25/2020 (7:22 PM) - "I totally understand Our agencies timing being off now is a huge pain in the ass for
    both side of the SWAT team right now "
        o Sergeant A sent the above message to Officer H.

•   04/25/2020 (7:51 PM} - "Is [Other WPD Officer] going to be able to help out?
        o Officer H sent the above message to Sergeant A.

•   04/25/2020 (7:52 PM} - "[Other WPD Officer] says he is, I pulled him just to get him away from that East side
    bullshit"
        o Sergeant A sent the above message to Officer H.

•   04/25/2020 (7:54 PM) - "Good Their headhunting him. Its frustrating when people that have no business being
    supervisors are able to target guys that are out there doing work.
        o Officer H sent the above message to Sergeant A.

•   04/25/2020 (7:55 PM} - "Yeah, [Other WPD Officer] is a bitch ... .an I'm probably gong to tell him soon"
        o Sergeant A sent the above message to Officer H.

•   04/25/2020 (7:55 PM) - "Unfortunately we have a culture of supervisors 'proving ' themselves by trying to
    hammer people. "
        o Officer H sent the above message to Sergeant A.
     Case 6:21-cv-01100-EFM               Document 207-36            Filed 09/29/23         Page 20 of 28
•   04/25/2020 (7:57 PM)- "Yep, and a chief who supports it "
•   04/25/2020 (8:02 PM) - "Just between us .... The chief tried to have me removed from the team because my shit
    got stolen. The Sheriff called him and reminded him I don 'tfucking work/or the chief ... it was heading towards
    the team splitting so the compromise was this guns & vests inside, pelican vault stuff .. [Other WPD Officers]
    said they would take whatever the chief did to them but wouldn 't remove me. [Other WPD Officer] even stepped
    up and kept it all together "
         o Sergeant A sent the above messages to Officer H.

•
                                              I
    04/25/2020 (8:06 PM) - "I wondered if that was what was going on. I just don 't understand why they don 't just
    pull CP cars, and issues them to the team with vaults. Is the Sheriffpreparing to pull you guys at some point? I
    hope that doesn't happen, but I know the chief and sheriff don't see eye to eye"
        o Officer H sent the above message to Sergeant A.

•   04/25/2020 (8:08 PM) - "The chief says no vaults because cars can get stolen ... the Sheriff and the chieffacking
    HATE each other. I have been very up front with the Sherriff .. it isn 't the best thing/or US if we split, it isn 't the
    best thing/or WPD, and it isn 't the best thing/or the CITIZENS we serve & who elected you if we split ... . I 'm
    trying very hard to avoid it.
         o Sergeant A sent the above message to Officer H.
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                                            Inappropriate Image
                                                21PSB-5114

Officer I: Rank (Sergeant), History (Two (2) O.I.S. Incidents), 26 Years, Actively Employed
    • Violation(s): Fail to Use Good Judgement (3.207 (B))
    • Discipline Received: Written Reprimand


Sergeant A: Sedgwick County Sheriff Sergeant.




                                      Message Conversation - Instant Message

    •   05/30/2020 (2:12 AM}- "Attachments: [Naked African American male sitting on another African American male
        behind a police vehicle.] File name: - Library/SMS/Attachments/ca/J0/483AOB743-JF76-4F44-B98C-
        AE353AEFFA06/received_jupg "
            o Officer I sent the above attachment to Sergeant A.

    •   05/30/2020 (2:13 AM}- "HshAgaha "
            o Sergeant A sent the above message to Officer I.
         Case 6:21-cv-01100-EFM              Document 207-36           Filed 09/29/23       Page 22 of 28

                                                       Patches
                                                     21PSB-5116

Officer J: Rank (Officer), History (No 0.1.S. Incidents), 22 Years, Actively Employed
    • Violation(s): Fail to Use Good Judgement (3.207 (B))
    • Discipline Received: Non-Discipline Education/ Coaching & Mentoring


Sergeant A: Sedgwick County Sheriff Sergeant.




                                       Message Conversation - Instant Message

    •   09/01/2017 (10:07 AM) - "The threeper mobile. [Attachment: Photo of skull on back of silver truck, and two (2)
        other stickers (unable to verify)) "
            o Sergeant A sent the above message to Officer J.


    •   09/01/2017 (10:16 AM)- "Nice! !need that tailgate one .... "
    •   11/30/2018 (9:41 PM) - "Gonna have io glue on some more Velcro ... outa real estate. [Attachment: Photo of
        patches on bag.] "
    •   02/8/2018 (3:36 PM) - "Screenshot_20180208-J 53509- 2jpg [Attachment: Picture of Dark Alliance Firearms
        gun.) "
            o Officer J sent the above messages to Sergeant A.

    •   03/31/2018 (3:03 PM)- "Attachment-ljpeg [Attachment: Picture of tattoos "We the People "]"
    •   07/28/2018 (12:55 PM) - "A ttachment-] jpeg [Attachment: Picture of soldier helmet and rifle that says
        "Professionally Violent".] "
            o Sergeant A sent the above message to Officer J.

    •   07/28/2018 (12:59 PM) - "I saw that shit on a T-shirt the other day .... needs to be a patch. "
            o Officer J sent the above message to Sergeant A .

    •   07/28/2018 (12:59 PM) - "Fuck yeah?"
    •   01/29/2019 (1:39 AM) - "Nice! I just finished a little 32/taserlhit a dude w my flashlight "
            o Sergeant A sent the above message to Officer J.

    •   01/29/2019 (1:41 AM) - "Don 't tease me ... "
            o Officer J sent the above message to Sergeant A.

    •   01/29/2019 (1:48 AM) - "Stupid Mexicans, hauling ass down the suicide lane on Seneca, couple dips and dodges
        then bailed. Tased passenger in back, had 2 felony warrants & cocaine in his pocket. Driver didn 't like me lasing
        his brother and earned a maglite to the dome for his interference "
            o Sergeant A sent the above message to Officer J.

    •   01/29/2019 (7:46 AM) - "Been a looooong time since I got to chilli whop a dude with my flashlight. Course
        we 've always had the plastic streamlights so you'd just break the fackin thing. Good for y ou getting some licks in,
        Sarge. "
             o Officer J sent the above message to Sergeant A.

    •   01/29/2019 (7:46 AM) - "Thanks bro! '
     Case 6:21-cv-01100-EFM              Document 207-36           Filed 09/29/23        Page 23 of 28
        o   Sergeant A sent the above message to Officer J.

•   01/29/2019 (8:01 AM) - "You 're a great cop, bro ... even as a sarge you 're still finding work ... [thumbs up
    emoji] "
        o Officer J sent the above message to Sergeant A.

•   02/02/2019 (11:01 AM) - "Attachment~ Jjpeg [Attachment: Picture of Confederate-looking Flag with "III
    1776" in middle of circle.} "
        o Sergeant A sent the above message to Officer J.

•   02/02/2019 (11:25 AM)- "[Thumbs up emoji]"
        o Officer J sent the above message to Sergeant A.

•   04/13/2019 (8:41 AM) - "Attachment~ ] jpeg [Attachment: Picture of Confederate Flag with Patriot male
    holding a rifle.] "
        o Sergeant A sent the above message to Officer J.

•   04/13/2019 (8:47 AM) - "Fuckin A "
        o Officer J sent the above message to Sergeant A.

•   04/13/2019 (8:55 AM) - "Three per "
        o Sergeant A sent the above message to Officer J.

•   04/13/2019 (8:57 AM) - "Fuck yeah 3 per "
        o Officer J sent the above message to Sergeant A.

•   04/28/2019 (11:47 AM) - "Hahaha okay, I'll get I 0-8 about 1400 and kick up a chase up north to brighten your
    day"
•   04/28/2019 (11:48 AM) - "I about due for another shooting too "
        o Sergeant A sent the above messages to Officer J.

•   04/28/2019 (11:50 AM)- "I'd be down ... "
        o Officer J sent the above message to Sergeant A.

•   06/14/2019 (8:55 AM)- "Attachment~ ] jpeg [Attachment: Picture of a snake and writing states, "LEARN
    FROM HISTORY OR BE DAMNED BY IT. WE ARE Ill Don 't interfere with anything in the Constitution. That
    must be maintained, for it is the only safeguard of our libertiesJ"
        o Sergeant A sent the above message to Officer J.

•   06/14/2019 (1:06 PM)- "Fuckin A"
        o Officer J sent the above message to Sergeant A.

•   06/21/2019 (6:23 PM) - "Attachment~ I jpeg [Attachment: Picture of a circle with writing states, "I AM THE
    DESCENDANT OF MEN WHO WOUJJD NOT BE RULED, SONS OF LIBERTY''} "
        o Sergeant A sent the above message to Officer J.

•   06/21/2019 (6:24 PM) - "I need that    o1
                                          a patch in my life .. . "
        o Officer J sent the above message to Sergeant A.

•   12/07/2019 (2:45 PM)- "Screenshot 2019-12-07 at 14.45.02.png [Attachment: Picture of George Washington
    that states, "Then George said 'Yall can tax this dick' and started the first boogaloo. Boogalations 7:4"} "
     Case 6:21-cv-01100-EFM             Document 207-36           Filed 09/29/23       Page 24 of 28
•   01/12/2020 (1:37 PM)- "Attachment~l.png [Allachment: Picture of a blonde female with writing that states, "A
    guy walks into a bar and asks the bartender 'isn 't that Trump & Cruz sitting over there?' The bartender answers
    'yup, that 's them '. So the guy walks over and says 'wow, this is a real honor! What are you guys doing here?'
    Cruz answers 'we 're planni8ng WWII!'. The guy replies 'really? What 's going to happen?' Trump answers 'well,
    we 're going to kill 140 million muslims and 1 blonde with big tits. ' The guy exclaimed 'a blonde with big tits?!
    Why kill a blonde with big tits?!' Trump turns to Cruz and says 'see, I told you, no one gives a crap about the 140
    milli8on muslims! '"} "
         o Sergeant A sent the above messages to Officer J.

•   01/12/2020 (1:39 PM) - "Bah! Awesome "
•   05/29/2020 {2:12 PM) - "My cbd came in today. Do you take it throughout the day like it says, or just before
    bed?"
        o Officer J sent the above messages to Sergeant A.
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                                                       Targets
                                                     21PSB-5117

Officer K: Rank (Sergeant), History (Two (2) 0.1.S. Incidents), 15 Years, Retired
    • Violation(s): Fail to Use Good Judgement (3.207 (B))
    • Discipline Received: Non-Discipline Education/ Coaching & Mentoring

Sergeant A: Sedgwick County Sheriff Sergeant.




                                        Message Conversation - Instant Message

    •   01/30/2019 (8:55 PM) - "Hey Wyatt Earp. How about saving some bad guys for us to deal with. [Other WPD
        Officers] and I are about to hit the street but don 'tfeel too confident we will find anything good because you keep
        putting holes in all the good targets"
            o Officer K sent the above message to Sergeant A.

    •   01/30/2019 (8:58 PM) - "Hahahaha no worries bro, there is plenty out there. !just wound em anyway, you can
        sweep up when they get released"
            o Sergeant A sent the above message to Officer K.
         Case 6:21-cv-01100-EFM            Document 207-36          Filed 09/29/23       Page 26 of 28
                                           Jamaican Goony Hook
                                               21PSB-5118

Officer L: Rank (Detective), History (One (1) 0.1.S. Incident), 16 Years, Actively Employed
    • Violation(s): Fail to Use Good Judgement (3 .207 (B))
    • Discipline Received: Non-Discipline Education/ Coaching & Mentoring

Sergeant A: Sedgwick County Sheriff Sergeant.




                                      Message Conversation - Instant Message

    •   12/30/2015 (9:11 PM) - "https://youtu.be/pDbAm8SCPOA "
            o Sergeant A sent the above message to Officer L.

    •   12/30/2015 (9:13 PM) - "BITCH SLAP!!! "
    •   12/30/2015 (9:13 PM) - "There mama felt that one!"
            o Officer L sent the above messages to Sergeant A.

    •   12/30/2015 (9:13 PM) - "That kid lays the PIMP hand on those dudes, then the last one is just collateral
        damage"
    •   12/30/2015 (9:14 PM) - "Those are Jamaican Goony Hooks"
            o Sergeant A sent the above messages to Officer L.

    •   12/30/2015 (9:15 PM)- "LMFAO!!! Oh I love that! Jamaican Goony Hooks! He does look like some ofmy
        distance relatives "
             o Officer L sent the above message to Sergeant A.
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                                                    Snitches
                                                   21PSB-5321

Officer B: Rank (Officer), History (One (1) 0.1.S. Incident), 11 Years, Resigned
    • Violation(s): None noted.
    • Discipline Received: Resigned Under Investigation

Sergeant A: Sedgwick County Sheriff Sergeant.



                                      Message Conversation - Instant Message

    •   06/04/2020 (7:06 PM) - "Attachment. [Attachment: Picture of Chief Ramsay speaking with SWAT officer.
        Wording on picture, "Snitches Get Stitches. "} [Other WP D OfficerJ nose was a little brown "
            o Other WPD Officer sent message to Sergeant A and four (4) other individuals.

    •   06/04/2020 (7:09 PM) - "Put [Other WPD Officer} is in shock! Look at his face. He wants to get up and run a
        way sooooo bad. Weird awkward moment for [Other WPD Officer]. [Other WPD Officer] trying to pretend to be
        working, but forgot his lock in password. Kinda like beingfireman!! [Other WPD Officer] WTF????? I have no
        words. "
    •   06/04/2020 (7:09 PM) - "Pour [Other WPD Officer} "
    •   06/04/2020 (7: 10 PM) - "Obviously I can 't Text for shit. So back to my whisky. Boys stay safe tonight! I I "
            o Other individual sent message to Officer B, Sergeant A, and two (2) other individuals.

    •   06/04/2020 (1: 10 PM) - "You can't spell either "
            o Other WPD Officer sent message to Sergeant A and four (4) other individuals.

    •   06/04/2020 (7:19 PM) - "No shit all the keys look the same!! "
            o Other individual sent message to Officer B, Sergeant A, and two (2) other individuals.

    •   06/04/2020 (7:35 PM) - "Hahahaha! Stupid firemen!
            o Other WPD Officer sent message to Sergeant A and four (4) other individuals.

    •   06/04/2020 (7:51 PM) - "Meat the chief asked which fireman sucked the meanest dick and I had to recommend
        you ...
             o Officer B sent the above message to another WPD Officer and four (4) other individuals.

    •   06/04/2020 (7:52 PM)- "Well [Other WPD Officer] gayed that up real quick .... i could see why the chief would
        ask, but how would [Other WPD Officer} know ... "
             o Sergeant A sent the above message to Officer B, another WPD Officer and four (4) other individuals.

    •   06/04/2020 (7 :53 PM) - "[Other WP D OfficerJ is obviously the gayest brown noser I ever saw in my life"
            o Other individual sent message to Officer B, Sergeant A, and two (2) other individuals.

    •   11/29/2019 (1:54 PM) - "Attachment [Attachment: Picture of a Twitter post stating, "Imagine being the kind of
        person who looks at the present situation in America and think to him/herself, 'Wow, we really need Joe Eiden as
        president. ' Oooorrr ... Gordon Ramsay for chiep??} "
            o Sergeant A sent the above message to Officer B.

    •   06/03/2020 (11:38 PM) - "Yes! "
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  o   Officer B sent the above message to Sergeant A.
